          Case 1:19-cv-00293-AW-GRJ Document 7 Filed 12/19/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:19-cv-293-AW-GRJ

 Deborah Laufer , Individually,
                 Plaintiff,

 v.

 Guru Krupa, Inc.,
                 Defendant.
 _________________________////

              PLAINTIFFS' NOTICE OF PENDENCY OF OTHER ACTIONS

       I hereby certify that the instant action is not related to any pending or closed civil or

criminal action previously filed in this Court, or any other Federal or State Court, or administrative

agency.

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this December 18, 2019.

                                               Respectfully submitted,
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Case 1:19-cv-00293-AW-GRJ Document 7 Filed 12/19/19 Page 2 of 2




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